Case 2:14-cv-00595-WBS-JDP Document 189-11 Filed 08/21/19 Page 1 of 11




                           Exhibit J
Case 2:14-cv-00595-WBS-JDP Document 189-11 Filed 08/21/19 Page 2 of 11
Case 2:14-cv-00595-WBS-JDP Document 189-11 Filed 08/21/19 Page 3 of 11
Case 2:14-cv-00595-WBS-JDP Document 189-11 Filed 08/21/19 Page 4 of 11
Case 2:14-cv-00595-WBS-JDP Document 189-11 Filed 08/21/19 Page 5 of 11
Case 2:14-cv-00595-WBS-JDP Document 189-11 Filed 08/21/19 Page 6 of 11
Case 2:14-cv-00595-WBS-JDP Document 189-11 Filed 08/21/19 Page 7 of 11
Case 2:14-cv-00595-WBS-JDP Document 189-11 Filed 08/21/19 Page 8 of 11
Case 2:14-cv-00595-WBS-JDP Document 189-11 Filed 08/21/19 Page 9 of 11
Case 2:14-cv-00595-WBS-JDP Document 189-11 Filed 08/21/19 Page 10 of 11
Case 2:14-cv-00595-WBS-JDP Document 189-11 Filed 08/21/19 Page 11 of 11
